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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

       MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION




PEGGY JONES, as                      )
Administrator of the                 )
Estate and Personal                  )
Representative of Christy            )
Dawn Varden,                         )
                                     )
       Plaintiff,                    )
                                     )          CIVIL ACTION NO.
       v.                            )            2:15cv34-MHT
                                     )
THE CITY OF CLANTON,                 )
                                     )
       Defendant.                    )

                                  ORDER

      The court having been informed on the record on May

13,    2015   that    the    parties     have    settled    all    issues

except attorney’s fees, it is ORDERED as follows:

  (1) All pending motions are denied without prejudice.

  (2) All deadlines are suspended and all hearings are

         cancelled.

  (3) An      on-the-record      status     conference      is    set    for

         June 3, 2015, at 10:00 a.m.                 Counsel for the
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   parties are to arrange for the conference to be

   conducted by telephone.

DONE, this the 14th day of May, 2015.
                                  /s/ Myron H. Thompson___
                               UNITED STATES DISTRICT JUDGE
